          Case 1:22-cv-00859-RP Document 318 Filed 04/02/24 Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

                                          §
                                          §
 FUND TEXAS CHOICE, et al.,               §
                                          §
            Plaintiffs,                   §             Civil Action No. 1:22-cv-00859-RP
                                          §
       v.                                 §
                                          §
 JOSÉ GARZA, in his official capacity as §
 Travis County District Attorney, et al., §
                                          §
             Defendants.                  §


      DEFENDANT JACOB PUTMAN’S OPPOSITION TO PLAINTIFFS’
         EXPEDITED MOTION TO EXCEED PAGE LIMITATIONS



       Defendant Jacob Putman, in his official capacity as District Attorney for Smith

County, Texas, files this opposition to Plaintiffs’ Expedited Motion to Exceed Page

Limitations for Omnibus Reply in Support of Plaintiffs’ Amended Motion for

Certification of Defendant Class and Appointment of Class Representatives and

Class Counsel (Dkt. 316). Plaintiffs’ motion should be denied. 1

                                          ARGUMENT

       Plaintiffs’ request for 25 pages for their reply brief is excessive. Plaintiffs filed

one motion (which was only 19.5 pages long) and are allowed one reply in support of

that motion (see L.R. 7(E)(1)), which is limited by the local rules to 10 pages. The fact

that there were eight responses to Plaintiffs’ motion because Plaintiffs chose to sue



1 Out of professional courtesy, and as relayed by counsel to Plaintiffs’ counsel when Plaintiffs sought

consent, Defendant Putman does not oppose three additional pages for Plaintiffs, totaling 13 pages.
                                                  1
        Case 1:22-cv-00859-RP Document 318 Filed 04/02/24 Page 2 of 4




multiple unrelated defendants does not mean that Plaintiffs are entitled to file

multiple replies under the Federal Rules of Civil Procedure or the Local Rules.

Plaintiffs had the burden to set forth the basis for class certification in their initial

motion. As explained in Defendant Putman’s opposition to class certification,

Plaintiffs failed to meet that burden. For example, Plaintiffs misinterpreted Rule

23(b)(1) and 23(b)(2) and cited little applicable precedent in support of their

arguments, see Dkt. 304 at 4-9, and Plaintiffs failed to explain how their proposed

subclasses would work, see Dkt. 304 at 15-16. Plaintiffs cannot now present new

arguments (that should have been raised before) in an attempt to meet that burden

in a reply brief longer than their initial motion. The Prosecutor Defendants would be

prejudiced if Plaintiffs are permitted to do so because they would not get an adequate

opportunity to respond.

      In their motion for page extension, Plaintiffs similarly fail to meet their

burden. They make the conclusory assertion that “the additional 15 pages are

necessary to address the different arguments raised in the 80 pages of the eight

separate responses by Prosecutor Defendants.” Dkt. 316 at 2. Plaintiffs do not explain

how the arguments differ or why they need additional pages to address the Prosecutor

Defendants’ arguments. But the arguments raised in each of the eight responses

overlap. For instance, all Prosecutor Defendants argue that the adequacy

requirements of Rule 23(a)(4) are not met here. See Dkt. 304 at 13-16, Dkt. 306 at 2-

4, Dkt. 307 at 3-5, Dkt. 308 at 2-6, Dkt. 309 at 3-5, Dkt. 310 at 5-10, 11-12, Dkt. 311

at 4-8, Dkt. 312 at 14-18. Some of the Prosecutor Defendants also raise arguments

about typicality, see Dkt. 304 at 11-12, Dkt. 307 at 3-4, Dkt. 312 at 12, and several

raise arguments about Rule 23(b), see Dkt. 304 at 2-8, Dkt. 309 at 5-7, Dkt. 310 at 10-


                                           2
        Case 1:22-cv-00859-RP Document 318 Filed 04/02/24 Page 3 of 4




11, Dkt. 312 at 18-20. And all the Prosecutor Defendants’ briefs were shorter than

the page limit provided by the Local Rules, some significantly so. See Dkt. 304

(seventeen pages), Dkt. 306 (four pages), Dkt. 307 (five pages), Dkt. 308 (eight pages),

Dkt. 309 (seven pages), Dkt. 310 (twelve pages), Dkt. 311 (eight pages), Dkt. 312 (less

than 20 pages).

      The very premise of Plaintiffs’ motion for class certification is that there are

common defenses among the Prosecutor Defendants such that certification is proper.

If the Prosecutor Defendants’ positions are really so similar, there is no need for

Plaintiffs to file a brief longer than their initial motion to respond. But if the

Prosecutor Defendants’ positions are so dissimilar that Plaintiffs require a reply brief

150% longer than the Local Rules allow to respond, that shows that class certification

is not proper here, as all the Prosecutor Defendants correctly contend. Further,

Plaintiffs should not be permitted a second bite at the apple to meet their burden to

show that certification is proper when they clearly failed to do so in their motion.

                                   CONCLUSION

      The Court should deny Plaintiffs’ motion.

                                     Respectfully submitted.
                                     /s/ Heather Gebelin Hacker
                                     HEATHER GEBELIN HACKER
                                     Texas Bar No. 24103325
                                     ANDREW B. STEPHENS
                                     Texas Bar No. 24079396
                                     HACKER STEPHENS LLP
                                     108 Wild Basin Rd. South, Suite 250
                                     Austin, Texas 78746
                                     Tel: (512) 399-3022
                                     heather@hackerstephens.com

                                     Counsel for Defendant Jacob Putman

                                           3
       Case 1:22-cv-00859-RP Document 318 Filed 04/02/24 Page 4 of 4




                         CERTIFICATE OF SERVICE

      I certify that on April 2, 2024, this document was served through the Court’s

CM/ECF Document Filing System upon all counsel of record.

                                  /s/ Heather Gebelin Hacker
                                  HEATHER GEBELIN HACKER




                                        4
